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 7                          UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11         Plaintiff,                              Case No. 2:01-cr-00206-LDG (PAL)
                                                   Case No. 2:10-cv-02113-LDG
12   v.
                                                   ORDER
13   ALBERTO MAGALLON-GUIZAR,

14         Defendant.

15

16         Defendant Alberto Magallon-Guizar has filed a second or successive motion to

17   vacate, set aside, or correct sentence pursuant to 28 U.S.C. §2255. Prior to filing a second

18   or successive §2255 motion, the defendant was required to first obtain the certification of

19   the Ninth Circuit Court of Appeals that his motion rests upon newly discovered evidence or

20   a new rule of constitutional law. He did not do so. Accordingly, for good cause shown,

21         THE COURT ORDERS that Defendant Alberto-Magallon-Guizar’s Petition for

22   Habeas Relief under 28 U.S.C. §2255 (#189) is DISMISSED.

23   DATED this ______ day of May, 2011.
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25                                                             Lloyd D. George
                                                               United States District Judge
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